                    Case 1:02-cr-05148-OWW Document 97 Filed 04/06/06 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
            DAVID EPIE HERNANDEZ
                      (Defendant’s Name)                                  Criminal Number: 1:02CR5148-002


                                                                          Dan Bacon
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1 through 9 as alleged in the violation petition filed on 2/23/06 .
[]  was found in violation of condition(s) of supervision as to charge(s)     after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 4/5/2004 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                               4/3/2006
                                                                                    Date of Im position of Sentence


                                                                                         /s/Oliver W . W anger
                                                                                      Signature of Judicial Officer


                                                                         OLIVER W . W ANGER, United States District Judge
                                                                                 Nam e & Title of Judicial Officer


                                                                                                 4/5/2006
                                                                                                   Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                1:02CR5148-002                                                                    Judgment - Page 2 of 3
DEFENDANT:                  DAVID EPIE HERNANDEZ

                                                       ADDITIONAL VIOLATION
                                                                                          Date Violation
Violation Num ber                    Nature of Violation                                  Concluded

Charge 1                             Failure to Subm it Monthly Supervision Reports
                                     as Directed                                          January 2006

Charge 2                             Failure to Follow Instruction of Probation Officer

Charge 3                             Failure to Report as Directed                        February 16, 2006

Charge 4                             Failure to Report for Drug Testing                   February 20, 2006

Charge 5                             Failure to Obey All Laws                             February 11, 2006

Charge 6                             Failure to Obey All Laws                             October 23, 2005

Charge 7                             Failure to Obey All Laws                             October 5, 2005

Charge 8                             Failure to Obey All Laws                             October 5, 2005

Charge 9                             Failure to Obey All Laws                             July 28, 2005
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               1:02CR5148-002                                                                Judgment - Page 3 of 3
DEFENDANT:                 DAVID EPIE HERNANDEZ



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 10 m onths .




[]       The court m akes the following recom m endations to the Bureau of Prisons:




[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
